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     Attorneys for Defendants

                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

                                                    CIV No.: 2:23-CV-21849-CCC-JRA
      DAVID J. LORENZO,
                                                                   A Civil Action
                             Plaintiff
                                                      NOTICE OF MOTION TO EXTEND
      vs.                                            TIME TO RESPOND TO PLAINTIFF’S
                                                        COMPLAINT ON BEHALF OF
      THE BOROUGH OF PALISADES                                DEFENDANTS
      PARK, NEW JERSEY; CHONG
      PAUL KIM (individually and in his
      official capacity as Mayor of the
      Borough of Palisades Park, New
      Jersey); and SUK “JOHN” MIN
      (Individually and in his official
      capacity as a member of the Borough
      Council of Palisades Park, New Jersey)

                             Defendants.


     To:
            Clerk of the Court                          Richard Malagiere, Esq.
            Clarkson S. Fisher Building                 Law Office of Richard Malagiere, P.C.
            & U.S. Courthouse                           250 Moonachie Road, Suite 300A
            402 East State Street                       Moonachie, New Jersey 07074
            Trenton, New Jersey 08608                   Attorneys for Plaintiff

             PLEASE TAKE NOTICE that the undersigned, attorneys for Defendants, The Borough of

     Palisades Park, Chong Paul Kim, and Suk “John” Min (“Defendants”) moves before the Hon.

     Claire C. Cecchi, U.S.D.J., pursuant to Fed. R. Civ. P. 7(b) and L. Civ. R. 7(m) for an Order

     extending State Defendants’ time to answer or otherwise respond to Plaintiffs’ Complaint to

     January 16, 2024.




                                                                                           #3283112
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            Defendants shall rely on the within Certification of Counsel being filed with this Notice of

     Motion, in support of this motion.

            It is respectfully requested that the Court rule upon the moving papers submitted, without

     requiring appearance of counsel, pursuant to Fed. R. Civ. P. 78.

            A proposed form of Order is attached hereto.

                                                           Semeraro & Fahrney, LLC
                                                           Attorneys for Defendants



                                                           By:
                                                                 R. Scott Fahrney, Esq.,

     Dated: December 15, 2023




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                                                                                                 #3283112
